            24TH JUDICIAL DISTRICT COURT FOR JEFFERSON PARISH
                             STATE OF LOUISIANA
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                                    )
                                    )         Criminal Commissioner
IN RE JPSO ITEM NO. A-15489-20      )         Comm. Paul Schneider
                                    )         Case No. A- 15489-20
                                    )
___________________________________ )

FILED: __________________                     DEPUTY CLERK: __________________

                    MOTION FOR PROTECTION AND PRESERVATION

       NOW INTO COURT COMES, Daren Parsa and Donna Lou, the parents of deceased minor

E.P., who through undersigned counsel respectfully move this Court to grant an order of protection

and preservation over the things seized by Jefferson Parish Sheriff’s Office and Jefferson Parish

Coroner’s Office. This pleading seeks only to preserve the status quo by (1) ensuring preservation

and (2) ensuring protection of the items collected for the following reasons:

1.     On January 19, 2020, minor child E.P. died while in the custody of the Jefferson Parish

Sheriff’s Office.

2.     Jefferson Parish Sheriff’s Office obtained a search warrant for Ormond Pediatrics and

Doctor Thomas Babin, Exhibit A, and upon information and belief, LCMC Health (also known as

Children’s Hospital New Orleans) from this Court. This warrant includes:

           a. Any and all medical records, notes, and documents associated with Eric Parsa,

                  W/M, DOB 08-15-2003.

3.     Movants, Parents of E.P., are concerned about the release of materials to third parties and

the press. Already, WWLTV published two videos of E.P. moments prior to his death were

released to the media – videos that were never in the custody of Movants. Movants are concerned

more materials will be published to third persons, including his medical records. Further, the

release of this information would expose E.P.’s doctors and caretakers.

4.     The property seized pursuant to a search warrant is the under the custody of this Court and

the judge has control of its disposition. La. Code of Crim. Pro. art. 3. As such, this Court has the

authority to issue an order of protection and preservation as custodians of the seized documents

and/or records.




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5.     In the civil arena, Louisiana statutes completely prohibit the publication of information,

documents, and records obtained in the death investigations. The Louisiana Department of Health

is authorized to make investigations into the deaths of children and also the deaths of person

receiving their services. La. R.S. 40:2019 governs child death investigations and states

       All such records obtained by the state panel or any local or regional panel or its
       agent in accordance with the provisions of this Subsection, as well as the results of
       any child death investigation report, shall be confidential and shall not be available
       for subpoena nor shall such information be disclosed, discoverable, or compelled
       to be produced in any civil, criminal, administrative, or other proceeding nor shall
       such records be deemed admissible as evidence in any civil, criminal,
       administrative, or other tribunal or court for any reason.

La. R.S. 40:2019.

6.     La. R.S. 40:2020 governs death investigations of persons who receive services and states

       Notwithstanding any other provision of the law to the contrary, all records obtained
       by the offices in accordance with the provisions of this Section, as well as any work
       product, chart, or any other document prepared by the offices in death reviews,
       except for the annual reports required by Paragraph (C)(3) of this Section, shall be
       confidential, shall not be public record, and shall not be subject to subpoena. Nor
       shall such information be disclosed, discoverable, or compelled to be produced in
       any civil, criminal, administrative, or other proceeding or admissible as evidence
       in any civil, criminal, administrative, or other tribunal or court for any reason.

La. R.S. 40:2020.

7.     However, Movants, parents of deceased minor child E.P., request a less strict

confidentiality provision than the civil statutes provide to protect the seized property from third

parties publication or by way of public records requests wherein these materials would become

available after the criminal investigation is closed.

8.     In regard to the request for preservation, Movants, request all items related to the death of

E.P. seized by or in the control, custody, or possession of Jefferson Parish Sheriff’s Office or the

Jefferson Parish Coroner’s Office be preserved intact and in full, including but not limited to the

following:

      a. Any and all JPSO tape recordings of complaint calls received; all headquarters to unit,

          unit to headquarters and unit to unit radio transmissions; and complaint desk

          communications related to the apprehension and death of E.P. on January 19, 2020 to

          the present;

      b. Any and all copies of JPSO "complaint histories" related to alleged crimes committed

          by, and arrests or seizures of E.P., Darren Parsa, or Donna Lou, including but not limited

          to the circumstances surrounding E.P.’s death on January 19, 2020;




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      c. Any and all documents and materials concerning or relating to the death of E.P.,

           including but not limited to tape recordings or notes of telephone calls, all rough notes,

           interoffice communications, written memoranda or other written documentation, press

           statements, releases, tape recordings or other records, taped or written, of press

           conferences;

      d. Police incident report and supplemental reports related to the death of E.P. on January

           19, 2020;

      e. Any and all reports, notes, written memoranda or other written documentation regarding

           any and all evidence seized, and results of any and all scientific tests or experiments

           made, including but not limited to crime scene reports, diagrams, pictures, etc.;

      f. Documents reflecting the whereabouts and chain of custody of any of the above listed

           documents not now in the custody and control of the Jefferson Parish Sheriff’s Office;

      g. All disciplinary, complaint, investigative and personnel files of all officers and

           supervisors of Jefferson Parish Sheriff’s Office involved in this incident;

      h. Any and all documents, including but not limited to the autopsy protocol, "Day Record,

           toxicological, serological, and histological reports;

      i. Any and all physical evidence, including but not limited to collected body fluids,

           preserved cut sections of body parts and organs, microscopic slides of all specimens

           collected at autopsy, clothing, etc.; and

      j. Any and all tape recordings, video recordings, communication records, notes, negatives,

           photographs, press statements and releases.

9.     Movants seek to preserve the above described evidence in order to prevent a failure or

       delay of justice, in as much as some of the above requested materials may be routinely

       destroyed after a certain time.

WHEREFORE, Movants, Daren Parsa and Donna Lou, move this Court to issue an order

protecting from third parties and preventing the destruction of the above requested documents,

materials and evidence, for such destruction would cause irreparable harm to Movants and would

substantially interfere with Movants’ pursuit of their investigation of their potential claim for

damages.

                                               Respectfully Submitted,

                                               ____________________________
                                               Attorney William Most, La. Bar # 36914


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                             STATE OF LOUISIANA
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                                    )         Criminal Commissioner
IN RE JPSO ITEM NO. A-15489-20      )         Comm. Paul Schneider
                                    )         Case No. A- 15489-20
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___________________________________ )

FILED: __________________                      DEPUTY CLERK: __________________

                                              ORDER

       Considering the above Motion for Protection and Preservation,

       IT IS HEREBY ORDERED that JEFFERSON PARISH SHERIFF’S OFFICE and

JEFFERSON PARISH CORONER’S OFFICE show cause on the ______ day of

_______________, 2020 at _________a.m./p.m. as to why this Court should not order all

documents obtained by Jefferson Parish Sheriff’s Office from the above-numbered search warrant

and/or relating to the investigation of the death of E.P. to not be shared with any third party except

pursuant to subpoena or civil discovery request; and why this Court should not order Jefferson

Parish Sheriff’s Office and Jefferson Parish Coroner’s Office and their employees, successors and

assigns, to preserve in full and intact, the following described documents, materials and evidence

which are in their custody, control or possession, relating to the death of minor child E.P. on

January 22, 2020, including but not limited to the following:

           a. Any and all JPSO tape recordings of complaint calls received; all headquarters to

               unit, unit to headquarters and unit to unit radio transmissions; and complaint desk

               communications related to the apprehension and death of E.P. on January 19, 2020

               to the present;

           b. Any and all copies of JPSO "complaint histories" related to alleged crimes

               committed by, and arrests of E.P., Darren Parsa, or Donna Lou , including but not

               limited to the circumstances surrounding his death on January 19, 2020;

           c. Any and all documents and materials concerning or relating to the death of E.P.,

               including but not limited to tape recordings or notes of telephone calls, all rough

               notes, interoffice communications, written memoranda or other written




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               documentation, press statements, releases, tape recordings or other records, taped

               or written, of press conferences;

           d. Police incident report and supplemental reports related to the death of E.P. on

               January 19, 2020;

           e. Any and all reports, notes, written memoranda or other written documentation

               regarding any and all evidence seized, and results of any and all scientific tests or

               experiments made, including but not limited to crime scene reports, diagrams,

               pictures, etc.;

           f. Documents reflecting the whereabouts and chain of custody of any of the above

               listed documents not now in the custody and control of the Jefferson Parish

               Sheriff’s Office;

           g. All disciplinary, complaint, investigative and personnel files of all officers and

               supervisors of Jefferson Parish Sheriff’s Office involved in this incident;

           h. Any and all documents, including but not limited to the autopsy protocol, "Day

               Record, toxicological, serological, and histological reports;

           i. Any and all physical evidence, including but not limited to collected body fluids,

               preserved cut sections of body parts and organs, microscopic slides of all specimens

               collected at autopsy, clothing, etc.; and

           j. Any and all tape recordings, video recordings, communication records, notes,

               negatives, photographs, press statements and releases.



       Signed this ______ day of _____________________, 2020, Gretna, Louisiana.



                        ________________________________________
                               CRIMINAL COMMISSIONER


Please serve:
Jefferson Parish Sheriff’s Office
1233 Westbank Expressway
Harvey, LA 70058

Dr. Gerry Cvitanovich
Jefferson Parish Coroner’s Office
2018 8th Street
Harvey, Louisiana 70058




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